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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            No. 20-7V
                                          UNPUBLISHED


    NANCY CLARK,                                                Chief Special Master Corcoran

                          Petitioner,                           Filed: January 27, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Leah V. Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for Petitioner.

Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION 1

         On January 3, 2020, Nancy Clark filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA) resulting from the adverse effects of an influenza (flu) vaccination
she received on November 21, 2017. Petition at 1; Stipulation, filed at January 25, 2022,
¶¶ 1-2. Petitioner further alleges that she received the vaccination within the United
States, that her pain lasted longer than six months, and neither she, nor any other party,
has ever received compensation in form of an award or settlement for Petitioner’s
vaccine-related injury. Petition at ¶¶ 1, 3; Stipulation at ¶¶ 3-5. “Respondent denies that
[P]etitioner sustained a Table SIRVA within the timeframe set forth in the Table; and
denies that the flu immunization caused or significantly aggravated [P]etitioner’s alleged
shoulder injury and/or any other injury.” Stipulation at ¶ 6.


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   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E -
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section ref erences to the Vaccine Act will be to the p ertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on January 25, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

            1. A lump sum payment of $8,808.04, representing compensation for
               satisfaction of a State of Oklahoma Medicaid lien, payable jointly to
               Petitioner and:

                                    Oklahoma Health Care Authority
                                        Third Party Liability Unit
                                         4345 N. Lincoln Blvd.
                                    Oklahoma City, Oklahoma 73105

            2. A lump sum of $100,000.00 in the form of a check payable to Petitioner.

Stipulation at ¶ 8. This amount represents compensation for all items of damages that
would be available under Section 15(a). Id.

        I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                  s/Brian H. Corcoran
                                                                  Brian H. Corcoran
                                                                  Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint f iling of notice
renouncing the right to seek review.

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                  THE UNITED STATES COURT OF FEDERAL CLAIMS
                              OFFICE OF SPECIAL MASTERS


NANCY CLARK,

                       Petitioner,

v.                                                       No. 20-7V
                                                         Chief Special Master Brian H. Corcoran
SECRETARY OF HEALTH AND                                  ECF
HUMAN SERVICES,

                       Respondent.


                                            STIPULATION
The parties hereby stipulate to the following matters:

       1. Nancy Clark ("petitioner") filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to -34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of an influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § 100.3(a).

       2. Petitioner received a flu vaccine on or about November 21, 2017. in her left deltoid.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that the flu vaccine caused her to develop a left-sided shoulder

injury related to vaccine administration ("SIRVA") and that she experienced residual effects of

this injury for more than six months.

       S. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.
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        6. Respondent denies that petitioner sustained a Table SIRVA within the timeframe set

forth in the Table; and denies that the flu immunization caused or significantly aggravated

petitioner's alleged shoulder injury and/or any other injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payments:

       a, A lump sum payment of $8,808.04, 1 representing compensation for satisfaction of a
       State of Oklahoma Medicaid lien, payable jointly to petitioner and

                                Oklahoma Health Care Authority
                                   Third Party Liability Unit
                                     4345 N. Lincoln Blvd.
                                Oklahoma City, Oklahoma 731 OS.

       Petitioner agrees to endorse this payment to the Oklahoma Health Care Authority; and

       b. A lump sum of $100,000.00 in the form of a check payable to petitioner. This amount
       represents all remaining compensation for all damages that would be available under 42
       U.S.C. § 300aa-15(a) for injuries allegedly related to petitioner's receipt of the flu
       vaccine,

       9. As soon as practicable after the entry of judgment on entitlement in this case) and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42


1 This amount represents full satisfaction of any right of subrogation, assignment, claim, Hen, or
cause of action the State of Oklahoma may have against any individual as a result of any
Medicaid payments made by, or on behalf of, the State of Oklahoma to, or on behalf of, Nancy
Clark as a result of her alleged vaccine-related injury suffered as a result of her Nove1nbcr 21,
2017 flu vaccination, under Title XIX of the Social Security Act, see 42 U.S.C. § 300aa.-15(g),
(h).


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U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or seivices for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.

        11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

stric~ construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In retum for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity and on behalf of her heirs, executors, administrators, successors and/or

assigns, does forever irrevocably and unconditionally release, acquit and discharge the United

States and the Secretary of Health and Human Services from any and all actions or causes of

action (including agreements, judgments, claims, damages, loss of services, expenses and all

demands of whatever kind or nature) that have been brought, could have been brought, or could

be timely brought in the Court of Federal Claims, under the National Vaccine Injury



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Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to or death of

petitioner resulting from, or alleged to have resulted from, the flu vaccination administered on or

about November 21, 2017, as alleged by petitioner in a petition for vaccine compensation filed

on or about January 3, 2020, in the United States Court of Federal Claims as petition No. 20-7V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the special master fails to issue a decision in complete conformity with the tenns

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete confonnity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged shoulder

injury and/or any other injury.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's



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    heirs, executors, administrators, successors, and/or assigns.

                                         END OF STIPULATION
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  Respectfully submitted,

  PETITIONER:




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  ATTORNEY OF RECORD FOR                       AUTHORIZED REPRESENTATIVE
                                               OF THE ATTORNEY GENERAL:
  P~             R:

  LEAH V. D' µ                                 ~cb+v\~?~
                                               HEATHER L. PEARLMAN
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  ldurant@durantllc.com                        P.O. Box 146
                                               Benjamin Franklin Station
                                               Washington, DC 20044·0146


  AUTHORIZED REPRESENTATIVE                    ATTORNEY OF RECORD FOR
  OF THE SECRETARY OF HEALTH                   RESPONDENT:
  AND HUMAN SERVICES:


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                                                ~~LP~
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  Dated: O I   lzs/zaz:L

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